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                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

              Plaintiff,

 v.                                                    Case No. 07-20076-13

 TIERRA JONES,

            Defendant.
 ______________________________________/

               ORDER DENYING DEFENDANT’S “MOTION TO EXTEND
                 TIME TO REPORT TO THE BUREAU OF PRISONS”

       Before the court is Defendant Tierra Jones’s “Motion to Extend Time to Report to

 the Bureau of Prisons,” filed January 15, 2009. On November 13, 2007, Defendant

 pleaded guilty to conspiracy to possess with intent to distribute a controlled substance,

 21 U.S.C. §§ 841(a)(1), 846. On March 21, 2008, this court sentenced Defendant to a

 term of imprisonment of twelve months and one day. To allow Defendant to complete

 her degree requirements (Def.’s Mot. ¶ 2), this court entered a stipulated order to

 extend Defendant’s time to report to the Bureau of Prisons (“BOP”) until December 15,

 2008 (6/20/08 Order). Having failed to report as directed on December 15, 2008,

 Defendant now claims that she has not completed her degree requirements, and

 requests that the court extend her time to report to the BOP until June 2009. Defendant

 states only that a “scheduling issue” prevented her from completing her degree during

 the previous extension of time. (Def.’s Mot. ¶ 3.) Defendant’s sparse justification does

 not persuade the court to extend again her time to report to the BOP. Therefore, the

 court will deny Defendant’s motion to extend. Accordingly,
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            IT IS ORDERED that Defendant’s “Motion to Extend Time to Report to the

 Bureau of Prisons” [Dkt. # 360] is DENIED.


                                                                        s/Robert H. Cleland
                                                                        ROBERT H. CLELAND
                                                                        UNITED STATES DISTRICT JUDGE

 Dated: January 16, 2009


 I hereby certify that a copy of the foregoing document was mailed to counsel of record
 on this date, January 16, 2009, by electronic and/or ordinary mail.


                                                                        s/Lisa G. Wagner
                                                                        Case Manager and Deputy Clerk
                                                                        (313) 234-5522




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